Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 1 of 27 PagelD #: 1531

BROWN SUF
EXHIBIT 9

 

4838-6684-6808 2
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 2 of 27 PagelD #: 1532

BROWN SUF
EXHIBIT 9

By ae P Be oi

CONFIDENTIAL BROWN00002498

 

Ea
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 3 of 27 PagelD #: 1533

667Z0000NMOUd

 

 

syarejdutoo uOTeUTUILLOSIp
-xas JUapnys Jo woTN[Osat pue-

WoReSsoAut jenavdurr | pue a ay

‘yduroad IOJ surpraord somnpooo.ld

 

 

auavod
LONaNOoo INACNIS

TWILNACISANOS
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 4 of 27 PagelD #: 1534

00SZOO000NAAONS

*SUNLULWILIDUI-JJVS ST Jey} UOQRULIOJUI SUIpMoid woa uUreAja1 OF, “I

‘uoisioap & [eadde oy,

‘sad1eyp ay} JO UONVULULISJep A[OUII} Be WARY OL ‘|
‘seiq jeuosiad jo spunoi3

ay} UO paylfenbsip aq Apog Sutivay eB Jo Jaquiew Jo 1ady4jo JuLIvay B yey} senbs1oL “H
‘sjustuaimbal

Jesa| pue saotjoeid AYISIOATUL:) YIM soUepIOIIR Ul ‘A}T[eIWUapYUOD paploye oqoL *H
CAVSIOAIUG AY} WO UOTeIed~as Ul {Nset
ABUL JEY} S19}LUL UI JUDUI9}e}S Us}im e aledaid 0} 1YBL ay] aaey SjuepNys¢) *1sv0yJO
10 Apog SULIvayY dy] V10JIq BDUIPLAV JajJZo puv ‘suoturdo JusTpes ssa.1dxo

‘SONSSI PUB SILIZDUOD JURAVTOI 9] eM9TAv 0} Ayrunpioddo ArvA2 USAISZ 9G OF, “7
‘asuodso.1 JURADIII B Lajjo 0} Aun.A0ddo ue popi0dse

pue paseq St ad.1eyd & YDIYM UOdN BdUaIpPIAD 3] JO PouUAOJUL Iq OF, “|

*sadievyo Aue 0} vsuodsai & a1edoaid 0] aur Jo YASUI] Vjquuosevaa B aALY OF, “Cd
‘AIUIOYE ue JOU SI pue Jaquiaw jyeys 10 Aynoey sty [Ny
B SL OYM APUNUIUIOD APISIOATUL] SU} UIYILM BdTOL9 Itay} Jo uosiad Aue aq ACUI IOSTApe
dL ‘SulIway Uoljezuesio Jspnys & Jo ‘BuLeasy IATeIJSIUIUIpe Ue ‘preog JonpuoD

JuapNys sq} a10Joq ZulIeayY & ‘UOTLSIISOAUL [PUIIO} B SULINP IOSIApe UP aABY OL, ‘OD
‘SULIVIY PONPuUoOd Juspnyjs os} eLidoidde sy] YSno1YyT punoj os

SL 94 /9YS ssapun SuOQEOLA pagar Aue Jo a[qisuodsa.l Jou potunsse oq OF, "gq

‘JONPUOISI pasal[e pue (S)asIVYI ay} JO SUIJIIM Ul PaWIOJUL oq Oy "VY

:ssuIps900.id

AJISIVAIUQ, UL S}YSt1 SulmoTjoy 3 popazojyye o1e JonNpuoD Juspnys jo
apog II] IsUIVSe SISUIFJO YIM Pasieyo suUONeZIULS1IO JUIpPNs pue s]UIpNys

TVILNAGIANOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 5 of 27 PagelD #: 1535

LOSZOOOONMONd

uoisjndxy 'G
uoIsuadsns "Pp
uoisuadsns poiisjog "¢€
uoHnegoid "7
puewliday *T
‘Ayuaaas Buiseasoul
JO J@pso ul ‘suonoues Builmojjo} 9y} Ul NSE
AewW apo) yNpuOD JUSapnNys du} Jo SUO!EIOIA +
AdOO LONGNOD LNACALS
HHL AGN SNOLLONVS

 

 

 

 

 

TVILNSGISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 6 of 27 PagelD #: 1536

z0SZ0000NMOUS

© eyes:

8
5

‘uonaues e spuawworad

‘ayelidosdde se ‘pue “Jonpuoy Juspnis Jo apo)

JU] JO SUOIEJOIA 104 a]qisuodsay si (s)}UaepuOodsaL
BY} JBYJOYM SBUIWWAayap Jauyng paeog

JONPuOD JUL “UOIPZEWUOJUI BAIBIeI PUe ‘AUOWWI}SI}
Jeay ‘aduapina ay} MalAad ||IM pseog JonpuoyD

Qu, “sulseay e JO} (gS) pueog yonpuoy juapnis

JU} 0} yaewas yd14dsued}] eC AO Aussaniun ou}

WOdj UOIeJedas ajqissod aAjOAu! Jey} SasUaso Jaja.
Aew aji] Juapnis 40} Ueaq a}elIDOSSY JOIUSS SUL

aquvod LONGNOOD LNAGA.LS

WILNAGISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 7 of 27 PagelD #: 1537

caSZcO000ONMOUNd

‘JuaWaye}s Sulsojo e ayew Aew sosiape Jay/siy Jo JUapuOdsal ayL = *Z
“JuaWaIeIS

Bulsoj> e aye Ae JosiApe Jay/Siy JO ssauymM sululejdiwuos ay = “9
‘payjeoad

aq Ae sassaulM “24d dy} JO UO!AIISIP AUITV “JIeEYD ayy YSNOIY] padaJ!p
aq suolsanb jje yey} asinbas Aew sey AY] ‘SAassauymM |je 4O suoHsanb

yse Ae (Sa)ssauyIM Sulule|dwiod ay} pue (s)juapuodsas ay} “sassauliM

Aue jo Auow!}s3} ay} pue a2uapina al} SAUILUEXA pseog tonpuod ayl °S
‘JUaLUa}e1s

Suluado ue ayew Aew sosiape Jay/siy Jo ssauyM. gujulejduso3 aul ‘Db
‘JuaWWazeys Suluado ue oyeu Aew Josiape Jay/siy 10 ) juapuodsas aul “E
‘sjeliayew

9529 ay} jnoge suoljsanb Jamsue o} ajqe/lene s| sojessiuiWIpe ased aul ‘7
: "JUBTIS UIELUDJ O}

1U314 au} Jo (s)JuUapuOodsa ay} SLUJOJU! pue (s)eSueyp ayu}yspessseydauyL  ‘T
SSMO||OJ Se paadoud ssueay gos

auvod LONGNOD INAGOLS

TWILNSGISNOSD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 8 of 27 PagelD #: 1538

poscoo00NMONd

AJUAO}VS ue Y .""pIeOg JonpUOD

JUIPNYS 9} s1ojoq SuLesy wv [ye pur]
‘UOTLSISOAUI [PULIOJ B SULINP ¥ TOSTIAPB
UB sARY O} Pol tulied are ‘syuapuodsal pure
sjueure[duros yj0q ‘ssaooid yonpuod juepnys
Ss AUSIOAIU) OY} UI syuediorsed yuspnys
‘SULYTeS PUL VOUZOIA SuTJep ‘aduaTOIA
OLJSOWIOp “JoONpUODSTUT [eNxas 4[NessE Tenxas
JO WIP B So]eSTISAAUL APISIOAIUGQ OY} UST M,,

Guvod LONGNOO INAGALS

WILNSCISNOSD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 9 of 27 PagelD #: 1539

S0SZ0000NMONS

JON UeYL Ajayi] BOW]

,S2UapIAa
Jo adUuesJapuodald

| Jo puepuejs

94} UO SUO!}eUIWUayap

SH OSE [IM Ja I1}JO 40

Apog suleay e ‘payiwwos
- Ugaq seu asuajjo ue

qnog JOU JO JaUJaYM Suluiwayap
ajqeuoseay e puoAeg . Ul] "adUapIAW Jo puepuels,, «

Me} Jeu yNpuo? JUapnis jo apoy-

 

 

HOOUd AO CUAUVGNV.LS

 

 

TVWILNAGISNOS
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 10 of 27 PagelD #: 1540

90SZO0000NMOUNE

"UdAOIG UVEq JOU
aney sadseyo 9u} pue JAW UJ|9q JOU sey puepue}s

aIUeJapUOodaId 9} ‘Sapis YJOG uo. Ayjenba
SUSIOM — |JPJBAO PalapIsuod — adUapIASa BU}

JEU} Sapnjauos jaued Suleay au} ‘ajduiexa
JO} 4] Jey uey} ssOW SUedW , adUeVapUOdad,,

JH wey Oy

TIWILNSGISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 11 of 27 PagelD #: 1541

sega

L0SZ70000NMOUd

‘Aunful 40 ‘aos04 yearsAud

JUDIOIA “UO!}e1JOUSA :BUIMO][OJ BY} JO BIOW

JO SUO SAPN{Iu! ZEUY JONpuoOsI | JENxXas ‘q'|I|
 -pue

‘aunyeu jenxas e Jo y9e}U0D jedIsAUd jensuasuod
-UOU SSA[OAUI! JEU) JONPUODSI|A] JeNXaS “e"|I|

“SMO||O} Se “IONPUO?)

yUaPNYS JO BpoOD au} UI ||] asuayO Aq pauljap
se yONpuogsiuw jenxas s}qiuojd fAISIOATUA UMOIG

 

— LOOGUNOOSTIA TVOXAS -

uM RU ww i

 

 

 

 

 

TWILNAGISANOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 12 of 27 PagelD #: 1542

80SZ0000NMOUd : i TVILNAGISNOD

“QDUB}SLUNIIID

sulzesiyitu e UeU} JaUyes Bulyequadexs UP PaJaplsuod
dq |JIM asuajjo Ue O} payelas aq 0} pagpnf ‘joyorje
SUIpNjoUl ‘snip Aue Jo asn s,juapnis pasueud V/
“aieMe UDaq ZAeY PjNoys Jo seme

SEM ]USPN}]s SUIPUdJJO BU} YIIYM Jo JUSaLUTeCUI
Jo Ayioedeoul yesisAyud 40 yequUaWw S,jJUapNis
papuajjo au} Aq pauied adequenpe Jo ‘UO;}2pIwiiqUuI
‘yeaIU} ‘8I4O} Sulsn syoe Bulpnjoul ‘SsJolAeyaq

Jo a8ues peoig e sassedwosua JNPUODSI|\] JeENXaS

 

LONGNOOSIW TVAXAS. --

= Pa cE . lv

 

 

 
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 13 of 27 PagelD #: 1543

 

60SZ0000NMOUNEG

‘pasnbal
iOu Ss} uawas fo uolssiua 4Ng “UO}INIYSU] §,pasnz3D ay} UOdN Apog uMO S,lU]]IjA ay} io ‘Apog $,uosiad sayzoud
{o s6ujuado joup so jojiuab ay} OUI algo Aun Aq so Apog s,uosiad 0 fo yiod Aup Aq 4ybiys Janamoy ‘uoisnijul

4aY4}O AUD JO ‘aSiNOIJajuI OUD puD ‘Olaf ‘snBuljiuund ‘asiNOIJalu! JONXAS SUDA ,,UOI}D1JaUad [ONXIS,,

‘ade Jo siead (QT) uaayxIs “UasUOD jo ade ay} JepuN pue sued (pT)

UdS}INOJ JO ade Jy} J9AO UOSJad JaYyJOUR Y}IM UO]JeJJaUAM jenxas Ul padedua pue sued (QT) usayysia yo ade
34} ISAO SI aYs JO AY Ji ynesse jenxas sasidap psiyy Jo Ayingd si uosuad vy *yjnNesse jenxas aasdap Psiyt 9-ZE-TT §
‘UOITE;NUWS JO UOWed1411e13 esnose

jenxas jo asodund ay] s0y WHDIA ay} Jo VONeUlWexa JO JUaWIead} fed|Paw au} ul sadedua pasnose ay] (g)
“UOI3J902 JO 3310} Sasn pasnjze aut (Zz)

‘ssajdjay AyeaisAyd

Jo pajgesip Ajequau ‘payeyoedesul Ajjeyuauy S! UW1191A JY} JY} MOUY O} USE| Sey JO SMOUY Pasnaze aUt (T)

2}51X9 SBIULJSWINIIID BUIMO]O) 34} Jo Aue $! pue UOSIad Jayjoue YUM PeUoOTienxas ul sadedua
aYs JO ay ff yNesse jenxas aaidap puooss e jo Ayind si uosad y ‘1)nNesse jenxas aaidap puoras p-Z€-TT §

, ‘UoHeynuis so ‘oj eoynesd jesnole

jenxas JO asodund 9y} JO} wiqd!IA ay} JO UOIeUlWexa JO JUaWYeaI] [EIIPAW aYy UI SAadeSua pasnove ay! (p)
“WIHDIA BY} BWOIIBAO 0} 2/Ge SI ‘asldins Jo JuaWaya auy Aq 10 JUaWeaIUOD YsNoJY) ‘pasnoze aul (€)

e "HO134909 10 3404 sagn pasnaje ayt (Z)
‘ssajdjay’ AyeaisAyd 10 ‘pajqesip Ajeyuaw

‘payeyoedesul Ajjequaw s} WiDIA JU] JY} MOU O} UOSBa SEY JO SMOUY ‘asnods ay} dulag acy ‘pasnaae ayt (T)
‘{SIX9 SIDUPISLUNDIID SUIMOYO} Juz jo Aue Ji pue ‘udsuad sayloue YUM UOlpesjauad yenxas

Ul sadegua ays 10 ay ji yjnesse jenxas aasdep ysuiy Jo Aqpingd si uosuad ¥ ‘yNesse jenxas aaidap ysuly Z-ZE-TT §

SALNLVWLS LINVSSY TWNX3S GNVIS! 3JGOHY

u
x
5

“WILNSGISNOS

 

MVT ONVT HCOHA WHaNnn LTNVSSV TWOXGS-

 

 

 
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 14 of 27 PagelD #: 1544

OLSZOOOONMONS : . IWILNACISNOO

_7(WUasUOD aAIZ 0} AL9eded au} SulAeYU

WOJ} JUapNIs ay} SJUSABIC AL|IGesip 49YIO JO JENID9]|9 UI!
ue asnesaq JO ‘JOYOIe JO SdNup jo asn Jo ade s jJuapnis
QY} O} anp “3’a) yuasuo? Suni jo ajqedeoul si uosiad e
a1JIYM JO [JIM S,UOSsad e ysuIeSe paj}esjadiad s}5e jenxas
pesisAyd 0} Suajas ‘QDUepPINS YDO JOlud pue juawnsop
SIY} Ul Pasn S| W493} Jey] Se ‘BDUBIOIA JeENxas JaMSUY,

cDDUBIOIA [ENXAS SI JEUM 'T-V

VLOZ ‘67 Judy aauajoia jenxas pue yj aj} Uo suamsuy pue suolseno yO
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 15 of 27 PagelD #: 1545

-LLSZOQOONMONS

"JUISUIOD ‘JOU SIOP PUY {JOUTILI WITOIA IY} Je] ST
JUSUIE]a UOUIUWIOD OIL], ‘A[SULMOUYUN IO A[SULIMOUY
(Y}Oq IO) S8NIP Io [OYOooTe oY} poysasutl savy APU
WIA JU], ‘SSIIP 10 [OYOoye Jo sovusNn ul ou}
Jgpun oq Avul 10 ‘daajse oq Avuy ‘Ayioedes
[V]UIUL POYSIUIVIIp sAevY ABUL UITD1A 3UL
"JUDSUOD VAIS 0} VIGeUN SI OYM UWIIOIA B ISUIVSE
ynesse uy ‘W[NVsse [eNnxos poyeyedvoy .
“UOTJBPIUNU! 10 s}eo.144
IO JI1OF 9Sn ACW YULTIVSSe OTL], “OS Op JOU S9Op
pue jUasuod 0} Ayloedeod oY] Sel WIOIA af} “yjnesse
[eNXaS V[qID1O} UT “}[MeSSB [ENKIS I[QAGT -

 

LINVSSV IWAXAS GALVLIDVdVINI ONY 41albYdO4

TWILNACISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 16 of 27 PagelD #: 1546

nN
=
Ye)
N
°
°
3
3°
=z
=
O
[a
a

 

CONFIDENTIAL
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 17 of 27 PagelD #: 1547

€LSZO00ONMONa

 

WILNAGISNOS

x
i

INDIO yeus ysatajul Ue JO JUaWA >Suryur

ue JO je ue jeu} SSOUBUIIIIM | jenpe

‘SPUILW $O BDUaIINIUOD e ‘psoode ue Buiyoeas

fO }JNSod JO JOR BY} S4ayzOUe Jo jesodoud
9] O} aquaasainboy AleyUN|OA 1 jasuod o-

‘SUO!}Ea1 JENXAS 0}. $39e1]U09 WO adue 7 Aew
YDIUM Yayujyoue Jo \esodoud Jo ye ue OL dauSe
AjiJeJUNJOA 0} ‘A (Z ‘UOISOdoud s Jeyjoue

0} jUSlUsEse MeUunlon e'u(T jUBsUOd °

 

ra es ~ = ca ee er

_LNASNOO

 

 

 

soe? Rett ereqmebeipinke. Sle SUN Pte a

 
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 18 of 27 PagelD #: 1548

vLSZO00ONMOUd

3

"APIAIZIe JENXIS JBYLNY Jo s0} eI!

94} UO S]jey SUIULp Uvaq sey Ayied JayyA
UFYM UOl}eJoIdsaj}UIsIW AO} AypIqisuodsas ayy
: , Ou,

‘pauinsasd aq JOUUDI JUISUO) "SOIIAIIOE | ype sos

JUBSUOD UB|DW OU s80p AWANIE | Quo JO} Uasuo)
1 Sah,

SD pajasdsajUl aq JOU pjnoys _o u, fo souasqo ay L

"sAeM JO Jaquuinu e ul pyoyum aq Aew jUBSUOD

"ye1U09 Jenxas Je 40} pasinbau si juasuoy

 

| “INASNOO

 

 

£e. f

TWILNAGINOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 19 of 27 PagelD #: 1549

SLSZOOOONMONd

i i 4 a VWILNAGIANOO

‘uoIssaidxa

Japuas 410 ‘Ayquapl Japuas ‘uoljeyUaliO jenxas
‘UISO peuorjeu ‘AjIQIUYIA ‘SNES DIWUOUIA ‘ade
‘Ayiqesip “apuas/xas ‘uolsijas ‘ade1 UO paseq
3SOU} ‘O} paul] JOU yng ‘Sulpnjoui fsuoiIe
BSUISSEJEY JO ‘SUIepIW!IUI ‘Suluayeatyy ‘saisnge
0} dno 40 uosyad 4ayJOUe Bujja[qns- Al

 

 

LNAWSSVUVH TVOXAS SLIGIHOUd a0
IONGNOD INACH.LS AHL AO AL ASN P10

 

 
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 20 of 27 PagelD #: 1550

9LSZOODONMOUS i foe 4 VILNAGISNOD

‘WeISOJC S,JOOYIS 3U} UI SalyUNoddo
JO ‘S8DIAJIS ‘S}JIUSG BAIBIAI OJ JO Ul aYedIDIWed
0} Ayiqe s,juapnys au} ‘xas Jo siseq SY} UO

yl] Jo Auap ued JUuapnis e Jo JUSWSSEIEH JENXaS «
“aunyeu
Jenxas e JO JONpuOd jeaisAyd Jo ‘jequanuou ‘JEqIaA

Jay}O pue ‘SIOALY |ENXaS JOJ sjsanbau ‘ saoueape
jJenxas awodjamun epniou ued JUDLUSSeJeY JeENXaS

aunyeu jenxas
e JO JONPUOD aWODjamuN si JUSLUSSeIeH lenxes .

JUNWISSeueH JENX9S SI JEUM |
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 21 of 27 PagelD #: 1551

ZLSZOOOONMOUd

‘uoiqURS BP pudaWWOda ‘ayelidoidde se -

‘pue ‘yonpuoz Juspnys
JO BPO) DY} JO SUOIJEIOIA JO} ajqisuodses

SI (s)juapuodsa, ou} Jay YM euiWtaiep °
UO!}ELWJOJUI anaoad °
pue ‘AuOWINISAL JEIY

“‘QdUaPIAa ou} MaIN2d °

 

SALLI TISISNOdSTA S.

IvVO"d
LONGNOO LNAGALS ~

TWILNACISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 22 of 27 PagelD #: 1552

8/SZ0000NMONG Po, ,& vi WLLNAGISNOD

EUONEPIWNU] IO éS}eaIY ~9d10J4 asQ JUapUOdsay PIgTA
éAysedey jo 49e7
ynoqy UMOU) sABH pjnoys 10 MOUy JUapPUOdsayYy PIG

é1UaSUO7Z 0} AyIsedez ay} BABH JUeUIe|dwo7 au} plan
éjUasuo jueule|dWwoD 3U} Po
dé j/ensuasuoo- uOoU 1De1U0D ay} Jo Aue semo

éainjyeu jenxas e Jo JeJUOD }eIISAUd 3Uy semo
éqeIU0D jeaisAud aauy seMO

édunjyeu jenxas e
$O yeJUOD jedIsAyd JeNSUasUOd-UOU Bsa SEMA [J

BIII vsuayjO Sun WUIUIOD
1Oj a[qisuodsay Juspuodsay sepa
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 23 of 27 PagelD #: 1553

om

6LSZ0000NMOUNG 8 - TWILNACISNOD

éAsnful
JO ‘ad40f} jeIISAY JUDJOIA ‘UOIZEIJOUSC JISyYy} SEM
EUOHEPIWIU] IO éSJLAIUL 689104 ASP} JUBpUOUSAY PiIdKT
éAyinede)
Jo 99e7 INOGY UMOUY aAeHy pynoys JO MOUY JUapUOCdsay PIdCTy
éjuasuo) oj Ayisede) ay} ane} JueUIe|dWWOD ay} platy
éJUasSUOZ JUeUIe|dwo7 ay} pan
éjensuasuod- -UOU e}UOI BY} Jo Aue. semMo
éainyeu jenxas e Jo yOe}UON jedIsAud aU seEMTA
éypejuo) jeaisAud aayy sem
éAinful 1@ ‘907045
jed1IsAUd JUdIOIA ‘uonesauad papnyjoul yey} sunzeu
JeEnxas e Jo jOeJUOD jedISAYd |ENSUBSUOD-UOU 34134} SEMA

i

III esusyO sun WUNMOD —
IOF a[qisuodsay yuspuodsoy se AA
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 24 of 27 PagelD #: 1554

Oz2SZO000NMONS

TWILNSOISNOD

é$}.1N09 94} pur WOO Aq poyoodxe ssoo01d
Aroyeorpnlpe ,[etyredull,, pue ,afqeyinba,,
IU} JO juouodul09 [COLI & IL ST AUM

cUBSUL SIY} SOP TEU

yy Ut OpPwap mon
DLOLDG DSWD DYP LAWALL,
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 25 of 27 PagelD #: 1555

LZSZOODONMONS

q
t

éJUapuodsad Jo JUeUIeE|dWoOD ay ‘jsulese

aspnus jeisads Jo ‘0} AjjeAo] jeigads aney jenpiaipul Aue sa0q

éSUIA] aq 34s!

Jayio ay} AyM jo uoneuesdxa ajqisnejd e pasajjo Aued Jayya se}
éajesassexa 10 3]] 0} aAey AYed Jaye WYSIW SUOSeds JEYUM
éAUOWIYSA] PU S]USLUS}E}S BU} B1aM payleyap JO jes9Uad MOH
éSUOISIAA BY} UDAM}aq SaIdUa}SISUODU!

Jofew au} 40j SuoMeue|dxa pauosead Jaj40 JUNOIIe BuO Sa0q
Epawule}s Adu} UPI BIOW Pseay JO Udas aney S[ENPIAIPU! BU pjnoUs
épawlejs Aay) JEYM pseay JO Udas BAeYS[ENPIAIPU! By} pjnoy
éasuas SOW sayeu yunos9e YIU AA

SSS S

SS SS

4

:sjun029e
BUIIDIJUOD JO AZJIGIPssd SA!Ze}A4I BY} SUIYSIAM UI Jap!SUOD OF SUO!SANH

 

danayag noh op ouM
-ALITEIGHaD ONTOCAL

 

 

WILINAGINOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 26 of 27 PagelD #: 1556

Z2SZ0000NMOYNG

JUBADIAA JO SA}WUeXI JOYIO J1dU] DY e

daouUaplAy

éUOTepIWIUy

JO és}eaIY] ¢90104 asp JuspUOodsay pig —
é1UASUOD ANID 0} aly JueUIE|dWOD ay sem —

éuoljsany ul Aeg ay} UG pauaddep ieUM _

JON S| AJOYsIH Jenxas s,juUeUle|dWoD aU «

-IBUIUIWJa}8q Ul JUBAaIOY ©

 

 

 

 

 

 

DIUPPIAT

 

 

 

 

 

JUBAD[OY SUIONLEL

 

 

TWILNSCISNOD
Case 1:15-cv-00144-WES-LDA Document 95-6 Filed 12/07/17 Page 27 of 27 PagelD #: 1557

£z7ScOOOONMONG

"ye 97 Jo Ayyenb ayt pue ainjeu au} aqeinaidde oy Ayoedes
| Jo ‘sjuaw3pnf pawoju! ayew 0} Aqjige
‘SadJUaNbasuod JO ssauaieMe

‘Ayyiqe dsulyew-uolsisap

:S JENPIAIPU! Ue Saye SBNIp 1O/pue joyooje Jo uoNdunsuod
84} MoY JO JUSaUIssasse Ue SaJinbal UO!eyIedeou! Bulyenjenq

» ‘AUHeIOA JauOlOWA
JO “‘JoYyorje JO JOpO
‘W1We3 Apeaysun

po -SUIPIWIOA
'yoeeds pains

rapnjoul
Aew uoljyeyoedesul Suiyseoudde aq Kew uosiad e 2 ey SUBIS SUILIEM

 

 

uoTTEyoedeauy
qoqy DIUIPIAY UBAI [SY sUnIOIE

 

 

TWILNAQGISNOD
